Case 2:97-cr-20240-.]PI\/| Document 280 Filed 08/04/05 Page 1 of 3 Page|D 153
IN THE UNITED STATES DISTRICT COURT

FOR THE WEsTERN DISTRICT oF TENNE§B£E\; J}’y\_ @_C.
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97-20238-1\/11
97-20239-M1

97-20240-1\/11 \/
m

05 -2001 4-Ml

Plaintiff,
VS

EDD[E JETER

Defendant.

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

'I`he defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI-MEMPHIS
(SCP), 1101 John A. Denie Road, Memphis, 'I`N 38138 by 2:00 P.M., *TUESDAY, SEPTEMBER
§._2_{19§

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTEREDthjsthe “/ day ofAugusr, 2005.

MM>‘@@Z

JO PHIPPS McCALLA
U ITED S'I`ATES DISTRICT JUDGE

This document entered on the docket she t in compliance
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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerkaeputy Clerk Defendant

UNITED `sTATEs DISTRICT COUR - WESTERN D's'TRCT OFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 280 in
case 2:97-CR-20240 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/1emphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

